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				AMENDMENT OF RULES 1.260 AND 1.261 OKLAHOMA SUPREME COURT RULES2024 OK 27Decided: 04/22/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 27, __ P.3d __

				
Amendment of Rules 1.260 and 1.261 Oklahoma Supreme Court Rules
ORDER
¶1 Rules 1.260 and 1.261 of the Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 15, app. 1, are hereby amended as shown on the attached Exhibit "A." The remainder of Rule 1.260 and Rule 1.261 is unaffected by the amendment. The amended Rules will be effective June 1, 2024.
¶2 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 22nd day of April 2024.
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/S/CHIEF JUSTICE
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ALL JUSTICES CONCUR


Oklahoma Supreme Court Rules 
Proposed Amendments 

RULE 1.260 - EXPUNGEMENT OF RECORDS
Persons who have obtained an order of expungement from a district court, pursuant to Title 22, Sections 18, and 19, and Section 60.18 may seek expungement of related civil appellate records in this Court for retained cases as well as those that stand or stood assigned to the Oklahoma Court of Civil Appeals. Those persons who seek a district court's expungement by appeal or writ may seek this court's order directing the clerk to keep certain materials sealed pending the outcome of the case.
RULE 1.261 - APPLICATION FOR EXPUNGEMENT
A party desiring expungement of appellate records must file an Application for Expungement with the Clerk of this Court. The Application shall state (1) the category under which the person was qualified to seek expungement in the district court, as set forth in Title 22, Section 18;, or Section 60.18 ; and (2) the date the district court entered the order of expungement and the scope of that order. A certified copy of the party's motion for expungement and of the district court's order granting the motion shall be filed with the Application for Expungement.


Oklahoma Supreme Court Rules 
RULE 1.260 - EXPUNGEMENT OF RECORDS
Persons who have obtained an order of expungement from a district court, pursuant to Title 22, Sections 18, 19, and 60.18 may seek expungement of related civil appellate records in this Court for retained cases as well as those that stand or stood assigned to the Oklahoma Court of Civil Appeals. Those persons who seek a district court's expungement by appeal or writ may seek this court's order directing the clerk to keep certain materials sealed pending the outcome of the case.
RULE 1.261 - APPLICATION FOR EXPUNGEMENT
A party desiring expungement of appellate records must file an Application for Expungement with the Clerk of this Court. The Application shall state (1) the category under which the person was qualified to seek expungement in the district court, as set forth in Title 22, Section 18, or Section 60.18; and (2) the date the district court entered the order of expungement and the scope of that order. A certified copy of the party's motion for expungement and of the district court's order granting the motion shall be filed with the Application for Expungement.
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